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    'A0245B       (Rev. 9/00) Judgment in a Criminal Case
                                                                                                                        FILED
                  Sheet I


                                             UNITED STATES DISTRICT                                      QTTRiIlK.U.s.D!STR1
                                                                                                          OIJTHERN DISTRICT O~~
                                                 SOUTHERN DISTRICT OF CALlFO"'"~_ _ _ _ _ _..Q~fu~~uil~~(J
                   UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                       v.                                         (For Offenses Committed On or After November I, 1987)

                          ARCADIO NIETO (4)                                       Case Number: 09CR0710-JLS
                                                                                  DANIEL CASILLAS
                                                                                  Defendant's Attomey
    REGISTRATION NO. 14269298

    D
    THE DEFENDANT:
    Igj pleaded guilty to count(s)           ONE OF THE INDICTMENT

    D was found guilty on count(s)
         after a plea of not guilty.
         Accordingly. the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                           Count
    Title & Section                         Nature of Offense                                                                             Number(s)
18 USC 1962(d)                      CONSPIRACY TO CONDUCT ENTERPRISE AFFAIRS THROUGH A                                                           1
                                    PATTERN OF RACKETEERING ACTIVITY




             The defendant is sentenced as provided in pages 2 through _ _4_ _ ofthis judgment. The sentence is imposed pursuant
      to the Sentencing Reform Act of 1984.
   D The defendant has been found not guilty on count(s)
   Igj Count(s)    (REMAINING COUNTS)                                            is   0   are[g] dismissed on the motion of the United States.
   I8l Assessment: $100.00 IMPOSED
   I8l Fine waived                                  D Property forfeited pursuant to order filed - - - - - -                       included herein.
             IT IS ORDERED that the defendant shall notifY the United States attorney for this district within 30 days of any change of name, residence,
      or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
      detendant shall notify the court and United States Attorney of any material change in the detendant's economic circumstances.
                                                                                      MARCH 25,2011
                                                                                  Date oflmposition of Sentence




                                                                                  UNITED STATES DISTRICT JUDGE



                                                                                                                                              09CR0710-JLS
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